      Case 2:21-cv-06320-MCS-JC Document 100 Filed 12/15/21 Page 1 of 4 Page ID #:820
 Name and address:
              Mitchell A. Kamin (Bar No. 202788)
                   Covington & Burling LLP
              1999 Avenue of[he Stars, Suife 3500
                 Los Angeles, CA 90067-4643
                         424-332-4800

                                              UNITED STATES DISTRICT COURT
                                             CENTRAL DISTRICT OF CALIFORNIA

                                                                           CASE NUMIIER
 Mosafer Inc., et al.
                                                         Plaintiff(s),                         221-cv-06320-MCS-IC

                  v.
                                                                             APPLICATION OFNON-RESIDENT ATTORNEY
 Eliot Broidy, et al.                                                             TO APPEAR IN A SPECIFIC CASE
                                                      Defendant(s),                       PRO HAC VICE

 INSTRUCTIONSFORAPPLICANTS
(I) The nCtorney seektng to appearPro hac vice must complete Sectimr I of this Application, personally sig~~, in ink, the certification iw
    Sectimi II, and have the designated Lacal Counsel sign in Section III. ELECTRONIC SIGNATURES ARE NOT ACCEPTED. Spnce to
    supplement responses is provided in Section N. The applicant must also attach a Certificate of Good Standing (issued within the last 30
    days)from every state bar to which he ar she is admitted;failure to do so will begroundsfor denying the Appiicntior~. Scan the
    completed Application with its origiwnl ink signature, together with any attac/vnent(s), to a single Portable Daaunent Format(PDF)file.
(2) Hnve the designated Local Counselfile the Application electronically using the Court's electronicfiling system ("AQotians and Related
    Filings => Applrcndons/Ex Parte Applications/Motions/Petitions/Requests => Appear Pro Hac Vice (G-64)"), attach n Proposed Order
   (using Form G-64 ORDER, availablefrom the Courtk we6site), and pay the required $500fee online nt the time offiling (using a credit
    card). Thefee is requiredfor each casein which the applicantfiles an Application. Failure to pay thefee at the time offiling will 6e
    groundsfor denying the Application. 0ubof-statefederal government attorneys are not required to pay the $SOOfee. (Certain
    attorneysfor the United States are also exemptfrom the requirement ofapplyingfor pro hoc vice status. See L.R. 83-2.1.4.) A copy of Hie
    G-64 ORDER in Ward or WordPerfectformat must be emailed to thegeneric chambers email address. L.R. 5-4.4.2.
SECTION I -INFORMATION
Zionts, David M.
 Applicant's Name (Last Name, First Name er Middle Initial)                                      check here iffedernlgovernmen[attorney ❑

 Covington &Burling LLP
 Firni/Agency Name
 One CityCenter                                                          202-662-6000                        202-662-6291

 850 Tenth Street NW                                                     Telephone Number                    Fax Number

Street Address
 Washington, DC 20001                                                                           DZionts@cov.com
 City, State, Zip Cade                                                                            E-mail Address

I have been retained to represent the following parties:
State of Qatar                                                             Plaintiffs) ~ Defendant(s) 0x Other: Counterclaim-Defendant
                                                                           Plaintiffs) ~ Defendant(s) ~ Other:
 Names)ofParty(ies) Represented

List all state and federal courts (including appellate courts) to which the applicant has been admitted, and provide the current status of his or
her membership. Use Section IV if more room is needed, or to provide additional information.

                 Name o Court                           Dnte o Admiss/on           Active MemGer in Good Standing? (if not please explain)
 District of Columbia                                     06/07/2010              Yes                                                  __._..
Supreme Court of the United States                         04/02/2014             Yes

 U.S. Court of Appeals for the First Circuit               08/27/2015             Yes


G-64 (09/20)              APPLICATION OFNON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                               Page 1 aC3
Case 2:21-cv-06320-MCS-JC Document 100 Filed 12/15/21 Page 2 of 4 Page ID #:821



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             SI~C'PION II - CIiR'1`1FICA'CIO V

             I declare under prnsltt~ of perjury shat:

         (I) Ali o(the above inl«rmation is true <~nd con'ed.
         (2) 1 aro Hat n residem i~f the St~tc of C,dil~rnia. i ant not regtilarl}' empluycd in, or engaged in
             substanti.il business, profrssinnal, or ndier acti~~itics in the State of Calfliirnia.
         (3) I am not currently suspended ~rnm and hace nc~cr h~vn disbarred Irum practice m anc court_
         (4) 1 am familiar i+~ttl~ the C:aurCs Local Civil and Criminal Rules, the t~cderal Rubs uI Cii~il anJ
            G9minal Prueedtn•~, and the Federal Roles of I:~idrnce.
         (5) I de5i~,nnte Ihr at~ornev Itstecl fn ticclinn III bcln~e. aho iti n metn6cr in gaud standing of Qte Ifar
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    Case 2:21-cv-06320-MCS-JC Document 100 Filed 12/15/21 Page 3 of 4 Page ID #:822


SECTION lIl - DESIGNATION OF LOCAL COUNSEL
Kamin, Mitchell A.
 Designee's Nnme (Last Name, First Name d Mrddle Initial)
 Covington & Burling LLP
 Finn/Agency Name
 1999 Avenue ofthe Stars, Suite 3500                              424-332-4800                           424-332-4749
                                                                  Telephone Number                       Faz Number

 Street Address                                                   MKamin@cov.com
                                                                  Hmall Address
Los Angeles, CA 90067-4643
Ctty, State, Zip Code                                            202788
                                                                  Designee's California State Bar Number

I hereby consent to the foregoing designation as local counsel, and declare under penalty of penury thet I maintain an office in the
Central District of Cellforn3a for the prac[Ice oflaw,in which I am physically present on a regular basis to conduct business.
           Dated     ~ Z,i ~'2- (                                Mitchell A. Kamin
                          —~                                     Desi i e's Name(please type or print)


                                                                   ui ~ee'sSignature
SECTION IV -SUPPLEMENT ANSWERS HERE(ATTACH ADDITIONAL PAGHS IF NECESSARY)

 Additional Courts Where Admitted:

 U.S. Court of Appeals for the Second Circuit: 01/05/2015; yes.
 U.S. Court of Appeals for the Third Circuit: 08/31/2021; yes.
 U.S. Court of Appeals for the Fourth Circuit: 06/06/2016; yes.
 U.S. Court of Appeals for the Fifth Circuit: 03!2019; yes.
 U.S. Court of Appeals for the Sixth Circuit: 10/2812015; yes.
 U.S. Court of Appeals for the Seven[h Circuit: 12/08/2017: yes.
 U.S. Court of Appeals for the Ninth Circuit: 10/17/2017; yes.
 U.S. Court of Appeals for the Tenth Circuit: 05/2020; yes.
 U.S. Court of Appeals for the Eleventh Circuit: 10/04/2016; yes.
 U.S. District Court for the District of Columbia:01/05/2015; yes.
 U.S. Court of Appeals for the D.C. Circuit: 06/30/2014; yes.




                                     OPNON-RESIDENT ATTORNEY TO APPFv1R IN ASPECIFIC CASE PRO lfAC VICE                       Pagel 0(3
Case 2:21-cv-06320-MCS-JC Document 100 Filed 12/15/21 Page 4 of 4 Page ID #:823




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      On behalf of JULIO A. CASTILLO, Clerk of the District of Columbia Court of Appeals,
                      the District of Columbia Bar does hereby certify that



                                                                ~'
                                 _ ~i               i            i



             wu duly qualified and admitted on June 7, 2010 es en ettomey and wunselor entitled to
                       practice before this Court; and is, on the date indicated below, a(n)
                                 ACTIVE member in good standing of this Bar.




                                                                             In Testimony Whereof,
                                                                         I have hereunto subscribed my
                                                                         name and affixed the seal of this
                                                                              Court at the City of
                                                                         Washington, D.C., on December
                                                                                    9,2021.

                                                                                       dry. ~~~✓4~

                                                                               JULIO A. CASTILLO
                                                                                 Clerk of the Court




                                                                                     / ~~
                                                                                    L~/"
                                                                     Issued By:
                                                                              District o(Columbiu Bnr Membership




    For questions or concerns, please contact the D.C. Bar Membership Office at 202-626-3475 or email
                                        m emberservices@dcbar.org.
